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                          IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF UTAH

UNITED STATES OF AMERICA,                           MEMORANDUM DECISION AND
                                                   ORDER CONTINUING TRIAL AND
             Plaintiff,                             EXCLUDING TIME UNDER THE
                                                        SPEEDY TRIAL ACT
      vs.
                                                        Case No. 2:20-CR-00013-DBB
JOSEPH MIGUEL VALDEZ,

             Defendant.                                     Judge David B. Barlow


       This Order Continuing Trial and Excluding Time Under the Speedy Trial Act is

entered in response to the outbreak of the Coronavirus Disease (COVID-19) in the District

of Utah.

       On March 13, 2020, a National Emergency was declared in response to the nationwide

outbreak, which the World Health Organization has declared a global pandemic. The numbers

of confirmed COVID-19 cases and deaths within the United States continue to be very high.

The United States has more COVID-19 cases than any other country.

       The Centers for Disease Control and Prevention (CDC) has issued guidance to combat

the spread of COVID-19 and to promote the health and well-being of the nation. This

guidance includes recommendations that all Americans avoid close contact with others (i.e.,

being within six feet), among other things. Despite this guidance, the CDC continues to

report many thousands of new COVID-19 cases in the United States each day. And available

evidence suggests there is difficulty in accurately tracking the spread of COVID-19 because

many cases go undetected due to varying degrees of symptoms and a lack of available testing.


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    Overall, the daily number of reported new infections is generally increasing again both in

    Utah and throughout the United States.

            In Utah, Governor Gary Herbert recently renewed an Executive Order placing Utah in

    a state of emergency on September 19, 2020, and while restrictions have been imposed and

    relaxed, new daily cases of COVID-19 in Utah continue at concerning numbers. COVID-19

    continues to be a risk to the general public, particularly when engaged in group activities in

    small spaces. Persons who are older, immunocompromised or who suffer from certain

    medical conditions—many of which are common—are particularly at risk.

            Additionally, the Court has issued several General Court Orders in response to

    the outbreak of COVID-19 in the District of Utah.

        •   General Order 20-008 placed restrictions on visitors to the District’s courthouse
            effective March 12, 2020, until further order.

        •   General Order 20-009 postponed most civil and criminal proceedings, and
            included findings and conclusions for an “ends of justice” exclusion of time
            under the Speedy Trial Act 1 for all criminal cases in the District from March 16,
            2020, through May 1, 2020.

        •   General Order 20-010 modified court operations for some criminal proceedings
            and offender supervision effective March 23, 2020, until further order.

        •   General Order 20-011 expanded video and teleconferencing capabilities for many
            criminal proceedings under the Coronavirus Aid, Relief, and Economic Security
            Act effective March 31, 2020, and continuing for 90 days.

        •   General Order 20-012 extended the postponement of most civil and criminal
            proceedings to June 15, 2020 and included findings and conclusions for an “ends of
            justice” exclusion of time under the Speedy Trial Act 2 for all criminal cases through
            June 15, 2020.
        •   General Order 20-017 extended the postponement of most civil and criminal
            proceedings to August 1, 2020 and included findings and conclusions for an “ends of

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    18 U.S.C. § 3161(h)(7)(A).
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    Id.

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            justice” exclusion of time under the Speedy Trial Act 3 for all criminal cases through
            August 1, 2020.

        •   General Order 20-020 renewed findings made in General Order 20-011 and extended
            for up to 90 additional days – through October 8, 2020 – the authorizations made under
            the CARES Act for expanded video and teleconferencing capabilities in many criminal
            cases.

        •   General Order 20-021 generally continued the status quo throughout the Court and
            extended relevant deadlines through September 1, 2020. It also describes the Court’s
            four phase reopening plan and the gating criteria.

        •   General Order 20-026 provided for resumed in-person proceedings at the discretion of
            individual judges in critical cases, but extended the postponement of civil and criminal
            jury trials to October 1, 2020. It also included findings and conclusions for an “ends of
            justice” exclusion of time under the Speedy Trial Act for all criminal cases through
            October 1, 2020.

        •   General Order 20-028 extended the emergency provisions of the CARES Act for an
            additional 90 days.

        •   General Order 20-029 extended the postponement of civil and criminal jury trials to
            November 2, 2020. It also included findings and conclusions for an “ends of justice”
            exclusion of time under the Speedy Trial Act for all criminal cases through November
            2, 2020.

            An “ends of justice” exclusion of time under the Speedy Trial Act is disfavored and

    “was meant to be a rarely used tool for those cases demanding more flexible treatment.” 4

    However, based on the ongoing nature of the COVID-19 outbreak in the District, the effect of

    national and local public health recommendations and directives, and the findings and

    conclusions in General Orders 20-009 through 20-012, 20-017, 20-020, 20-021, 20-026, 20-

    028 and 20-029, it is necessary and appropriate to continue trial in this case and exclude time

    under the Speedy Trial Act. The high number of COVID-19 cases and deaths nationally, and

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    Id.
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    United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).


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    in Utah, demand modifications in court practices to protect the public health. Courts and court

    operations are necessarily social operations, involving many people.

          The need to protect the health of the public during a deadly pandemic outweighs the

    rights of Defendant and the public to a speedy trial. Moreover, there is a significantly

    reduced ability to obtain an adequate spectrum of jurors and available counsel, witnesses,

    and court personnel to be present in the courtroom for trial. Empaneling a jury, conducting a

    trial, and arranging jury deliberations, with due regard for health and safety, considering the

    broad spectrum of participants and their contacts outside the court, is not currently possible

    in the physical facilities available to the court. Long exposure in confined spaces, which is

    inherent in trial, increases risk of infection. Video and audio conferencing, used for hearings,

    are not available for trials. Counsel’s ability to adequately prepare for trial, including

    locating and consulting with witnesses, and defense counsel’s ability to confer with

    Defendant, under these circumstances is also greatly reduced.

           A failure to continue trial under these circumstances would result in a miscarriage of

    justice 5 and would deny counsel for the government and Defendant the reasonable time

    necessary for effective preparation, taking into account the exercise of due diligence. 6

    Therefore, the ends of justice served by such a continuance outweigh the best interests of the

    public and Defendant in a speedy trial. 7 This continuance is not predicated on general

    congestion of the court’s calendar or lack of diligent preparation by counsel. 8



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  18 U.S.C. § 3161(h)(7)(B)(i).
6
  Id. § 3161(h)(7)(B)(iv).
7
  Id. § 3161(h)(7)(A).
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  Id. § 3161(h)(7)(C).

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                                          ORDER

       IS HEREBY ORDERED that the 3-day jury trial previously scheduled to begin on

October 9, 2020 is continued to the 13th day of November, 2020 at 9:00 a.m. Accordingly, the

time from the entry of General Order 20-009, March 16, 2020, and the new trial date is excluded

from Defendant’s speedy trial computation for good cause.

       SO ORDERED this 30th day of September, 2020.


                                                      BY THE COURT:



                                                       ______________________________
                                                       David B. Barlow
                                                       United States District Court Judge




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